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  8                           UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
 10                               (HON. JEFFREY T. MILLER)
 11   UNITED STATES OF AMERICA,                )       Case No.09CR01597-JM
                                               )
 12         Plaintiff,                         )       ORDER TO CONTINUE
                                               )       SENTENCING HEARING
 13   v.                                       )
                                               )
 14   WILSON et al,                            )
                                               )       Current Date:        December 18, 2009
 15                                            )       New Date:            January 29, 2010
             Defendant.                        )       Time:                9:00 a.m.
 16                                            )
 17         Based upon the stipulation between the parties, and good cause appearing, IT IS
 18   HEREBY ORDERED that the sentencing hearing for defendants DENNIS SCOTT
 19   WILSON, and BRAD SCOTT WILSON is hereby continued to January 29, 2010, at
 20   9:00 a.m. An acknowledgment of the next court date shall be filed with the court by defense
 21   counsel with clients on bond no later than December 14, 2009.
 22   DATED: December 15, 2009
 23
                                                   Hon. Jeffrey T. Miller
 24                                                United States District Judge
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